Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12

                                                                                  Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together called a
    e and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, Do you own a car, the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses            and         to distinguish
between them. In joint cases, one of the spouses must report information as           and the other as          . The same person must be          in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:   Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       John                                                            Theresa
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          William                                                         Ahbez
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Miller                                                           Miller
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                        Theresa Ahbez
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-3141                                                     xxx-xx-0446
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1
Debtor 2   Miller, John William & Miller, Theresa Ahbez                                               Case number (if known)




                                About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have        I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and    Business name(s)                                               Business name(s)
     doing business as names

                                EINs                                                           EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                2795 Milford Rd
                                Bushkill, PA 18324-8311
                                Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                Pike
                                County                                                         County

                                If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                notices to you at this mailing address.                        address.

                                PO Box 314
                                Bushkill, PA 18324-0314
                                Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing       Check one:
                to file for                                                                    Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                       district.                                                       lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




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Debtor 1
Debtor 2    Miller, John William & Miller, Theresa Ahbez                                                    Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the last
     8 years?                        Yes.
                                               District    Middle District of PA         When       8/23/11                Case number       5:11-bk-05844-JJT
                                               District    Middle District of PA         When       6/24/10                Case number       5:10-bk-05211-RNO
                                               District                                  When                              Case number



10. Are any bankruptcy cases         No
    pending or being filed by
    a spouse who is not filing       Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                  When                             Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                  When                             Case number, if known



11. Do you rent your                 No.        Go to line 12.
    residence?
                                     Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                          bankruptcy petition.




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Debtor 1
Debtor 2    Miller, John William & Miller, Theresa Ahbez                                                      Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time           No.       Go to Part 4.
    business?

                                        Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as an                   Miller Chiropractic Center
     individual, and is not a                     Name of business, if any
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  PO Box 314
     If you have more than one                    Bushkill, PA 18324-0314
     sole proprietorship, use a
     separate sheet and attach it                 Number, Street, City, State & ZIP Code
     to this petition.                            Check the appropriate box to describe your business:
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a                            U.S.C. 1116(1)(B).

                                        No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                        No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                                  Code.

                                        Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any              No.
    property that poses or is
    alleged to pose a threat of         Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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Debtor 1
Debtor 2    Miller, John William & Miller, Theresa Ahbez                                                  Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                    I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                     I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                    I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                                Incapacity.                                                    Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                                Disability.                                                    Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                                Active duty.                                                   Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Debtor 1
Debtor 2    Miller, John William & Miller, Theresa Ahbez                                                     Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after       Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                     No
     are paid that funds will be
     available for distribution                  Yes
     to unsecured creditors?

18. How many Creditors do             1-49                                             1,000-5,000                                    25,001-50,000
    you estimate that you                                                              5001-10,000                                    50,001-100,000
    owe?                              50-99
                                      100-199                                          10,001-25,000                                  More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                       $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                               $10,000,001 - $50 million                      $1,000,000,001 - $10 billion
    be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                     $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


20. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                       $500,000,001 - $1 billion
    estimate your liabilities to      $50,001 - $100,000                               $10,000,001 - $50 million                      $1,000,000,001 - $10 billion
    be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                     $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Miller, John William                                           /s/ Miller, Theresa Ahbez
                                   John William Miller                                                Theresa Ahbez Miller
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on     April 13, 2016                                     Executed on      April 13, 2016
                                                   MM / DD / YYYY                                                      MM / DD / YYYY




              Case
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Debtor 1
Debtor 2   Miller, John William & Miller, Theresa Ahbez                                                      Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Patrick J. Best, Esq                                              Date         April 13, 2016
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Patrick J. Best, Esq
                                Printed name

                                Anders, Riegel & Masington LLC
                                Firm name


                                128 E Broad St
                                Bethlehem, PA 18018-6277
                                Number, Street, City, State & ZIP Code

                                Contact phone    (610) 849-2788                                 Email address         patrick@armlawyers.com
                                309732
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                   John William Miller
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Theresa Ahbez Miller
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


                                                          MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:                  DIVISION

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new             and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             223,992.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              17,647.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             241,639.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $             399,123.11

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                             $              38,632.84

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                               $             111,197.79


                                                                                                                                     Your total liabilities $               548,953.74


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................              $                1,462.01

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,610.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal, family, or household
                purpose. 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.



 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1     Miller, John William & Miller, Theresa
 Debtor 2     Ahbez                                                                   Case number (if known)
             Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
             court with your other schedules.

 8.    From the                                            : Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $     1,579.63


 9.    Copy the following special categories of claims from Part 4, line 6 of                        :

                                                                                                             Total claim
       From Part 4 on                     , copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                       $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $            38,632.84

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                     $            20,409.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                               $             59,041.84




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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            Case 5:16-bk-01567-RNO                            Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59                               Desc
                                                              Main Document   Page 9 of 55
 Fill in this information to identify your case and this filing:

 Debtor 1                    John William Miller
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Theresa Ahbez Miller
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


                                                             MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:                     DIVISION

 Case number                                                                                                                                                  Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                    Single-family home                         Do not deduct secured claims or exemptions. Put
        2795 Milford Rd                                                             Duplex or multi-unit building              the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative

                                                                                    Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Bushkill                          PA        18324-8311                      Land                                       entire property?           portion you own?
        City                              State          ZIP Code                   Investment property                              $223,992.00                  $223,992.00
                                                                                    Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                    Debtor 1 only
        Pike                                                                        Debtor 2 only
        County                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                    At least one of the debtors and another        (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Residential Dwelling - Value Based on Zillow Estimate


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $223,992.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1
 Debtor 2         Miller, John William & Miller, Theresa Ahbez                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Chevrolet                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Equinox                                      Debtor 1 only                                        Creditors Who Have Claims Secured by Property .
         Year:       2007                                         Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                     Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                       At least one of the debtors and another
         Value Based on KBB
                                                                  Check if this is community property                            $4,362.00                 $4,362.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $4,362.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
        Yes. Describe.....
                                   Household Goods - Bedroom, Living Room, Kitchen Items                                                                    $2,075.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                   Electronics                                                                                                                 $710.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....


Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
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 Debtor 1
 Debtor 2         Miller, John William & Miller, Theresa Ahbez                                                               Case number (if known)

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                           Pants, Shirts, Shoes, Jackets and Other Wearing Apparel (No
                                           Single Item is Worth Over $250.00)                                                                                       $550.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes. Describe.....
                                           Small Costume Jewelry, Wedding Rings, Watches, Engagement
                                           Ring                                                                                                                   $1,750.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
      No
       Yes. Describe.....
                                           Dogs (x2)                                                                                                                $250.00


14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                             $5,335.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
       Yes................................................................................................................
                                                                                                                                Cash on Hand                           $5.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:


                                             17.1.       Savings Account                         Valor F.C.U.                                                       $150.00



                                             17.2.       Checking Account                        P.S.E.C.U.                                                           $70.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                           Institution or issuer name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                        page 3
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 Debtor 2        Miller, John William & Miller, Theresa Ahbez                                                  Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......



Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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 Debtor 2        Miller, John William & Miller, Theresa Ahbez                                                               Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers compensation, Social Security benefits;
              unpaid loans you made to someone else
      No
        Yes. Give specific information..
                                                        Unpaid Receipts from Insurance Payments                                                                        $3,000.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner s, or renter s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                  Beneficiary:                               Surrender or refund
                                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........
                                                        Civil Judgment (Debtor was Plaintiff) Before MDJ Paul
                                                        Menditto Sr. (MDJ 60-3-04)                                                                                     $2,925.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................            $6,150.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
        Yes. Describe.....




Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 5
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 Debtor 1
 Debtor 2        Miller, John William & Miller, Theresa Ahbez                                                               Case number (if known)

                                      Chiropractic Table, Computer, Printer, Heating Pads, Massage
                                      Table, Register for Debtor's Business                                                                                  $1,800.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                    Name of entity:                                                                           % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................   $1,800.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                     $0.00




Official Form 106A/B                                                        Schedule A/B: Property                                                                page 6
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 Debtor 1
 Debtor 2         Miller, John William & Miller, Theresa Ahbez                                                                          Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $223,992.00
 56. Part 2: Total vehicles, line 5                                                                             $4,362.00
 57. Part 3: Total personal and household items, line 15                                                        $5,335.00
 58. Part 4: Total financial assets, line 36                                                                    $6,150.00
 59. Part 5: Total business-related property, line 45                                                           $1,800.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $17,647.00              Copy personal property total       $17,647.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $241,639.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 7
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 Fill in this information to identify your case:

 Debtor 1                John William Miller
                         First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                 Last Name


                                                    MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing


Official Form 106C
                                                                                                                                                               4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on                           that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                     that lists this property                portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

 Debtor 1 Exemptions
   Household Goods - Bedroom, Living                                $2,075.00                                  $2,075.00     11 USC § 522(d)(3)
   Room, Kitchen Items
   Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                         any applicable statutory limit

      Electronics                                                       $710.00                                  $710.00     11 USC § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

      Pants, Shirts, Shoes, Jackets and                                 $550.00                                  $550.00     11 USC § 522(d)(3)
      Other Wearing Apparel (No Single
      Item is Worth Over $250.00)                                                        100% of fair market value, up to
      Line from Schedule A/B: 11.1                                                       any applicable statutory limit

      Small Costume Jewelry, Wedding                                $1,750.00                                  $1,750.00     11 USC § 522(d)(4)
      Rings, Watches, Engagement Ring
      Line from Schedule A/B: 12.1                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit

      Dogs (x2)                                                         $250.00                                  $250.00     11 USC § 522(d)(3)
      Line from Schedule A/B: 13.1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                       page 1 of 3
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                    that lists this property                 portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Cash on Hand                                                         $5.00                                     $5.00    11 USC § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Valor F.C.U.                                                      $150.00                                   $150.00     11 USC § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     P.S.E.C.U.                                                         $70.00                                    $70.00     11 USC § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Unpaid Receipts from Insurance                                 $3,000.00                                  $3,000.00     11 USC § 522(d)(5)
     Payments
     Line from Schedule A/B: 30.1                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Civil Judgment (Debtor was Plaintiff)                          $2,925.00                                  $2,925.00     11 USC § 522(d)(5)
     Before MDJ Paul Menditto Sr. (MDJ
     60-3-04)                                                                            100% of fair market value, up to
     Line from Schedule A/B: 33.1                                                        any applicable statutory limit

     Chiropractic Table, Computer,                                  $1,800.00                                  $1,800.00     11 USC § 522(d)(6)
     Printer, Heating Pads, Massage
     Table, Register for Debtor's                                                        100% of fair market value, up to
     Business                                                                            any applicable statutory limit
     Line from Schedule A/B: 39.1

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
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 Fill in this information to identify your case:

 Debtor 1
                             First Name                   Middle Name                 Last Name

 Debtor 2                    Theresa Ahbez Miller
 (Spouse if, filing)         First Name                   Middle Name                 Last Name


                                                    MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing


Official Form 106C
                                                                                                                                                               4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on                           that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                     that lists this property                portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                       page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   John William Miller
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Theresa Ahbez Miller
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:             DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Fay Servicing                            Describe the property that secures the claim:               $356,804.00              $223,992.00          $132,812.00
         Creditor's Name
                                                  Mortgage Account on Debtors'
                                                  Residential Dwelling
                                                  As of the date you file, the claim is: Check all that
         939 W North Ave                          apply.
         Chicago, IL 60642-7138                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6364

 2.2     Teds Used Cars LLC                       Describe the property that secures the claim:                  $4,954.11                 $4,362.00              $592.11
         Creditor's Name
                                                  2007 Chevrolet Equinox
                                                  Value Based on KBB
         1723 W Main St                           As of the date you file, the claim is: Check all that
         Stroudsburg, PA                          apply.
         18360-1072                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        5241

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 John William Miller                                                                                 Case number (if know)
               First Name                  Middle Name                       Last Name
 Debtor 2 Theresa Ahbez Miller
               First Name                  Middle Name                       Last Name



         Valor Federal Credit
 2.3                                                Describe the property that secures the claim:                    $37,365.00                $223,992.00         $37,365.00
         Union
         Creditor's Name
                                                    Second Mortgage on Debtors
                                                    Residential Dwellling
                                                    As of the date you file, the claim is: Check all that
         315 Franklin Ave                           apply.
         Scranton, PA 18503-1201                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0005


 Add the dollar value of your entries in Column A on this page. Write that number here:                                    $399,123.11
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                   $399,123.11

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Barbara Fein, Esq.
          721 Dresher Rd Ste 1050                                                                     Last 4 digits of account number   6364
          Horsham, PA 19044-2266

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          First Mariner Bank
          1801 S Clinton St                                                                           Last 4 digits of account number   6364
          Baltimore, MD 21224-5806

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Goshen Mortgage LLC
          939 W North Ave Ste 680                                                                     Last 4 digits of account number   6364
          Chicago, IL 60642-1231




Official Form 106D                      Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                  page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     John William Miller
                              First Name                     Middle Name                       Last Name

 Debtor 2                     Theresa Ahbez Miller
 (Spouse if, filing)          First Name                    Middle Name                       Last Name


                                                        MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:                DIVISION

 Case number
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority               Nonpriority
                                                                                                                                          amount                 amount
 2.1          Berkheimer Tax Administrator                         Last 4 digits of account number         3141                 $279.00              $279.00                   $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              P.O. Box 25153
              Lehigh Valley, PA 18002
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
              Debtor 1 only                                           Unliquidated
              Debtor 2 only                                           Disputed
              Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

              At least one of the debtors and another                 Domestic support obligations

              Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
              No                                                      Other. Specify
              Yes                                                                       Local Tax Debt Incurred 2015




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 8
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 Debtor 1
 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                      Case number (if know)

 2.2        Commonwealth Of Pennsylvania                          Last 4 digits of account number       3141                $3,805.84              $3,805.84                   $0.00
            Priority Creditor's Name
            P.O. Box 280946                                       When was the debt incurred?
            Department Of Revenue -
            Bankruptcy Dept.
            Harrisburg, PA 17128
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
            Debtor 1 only                                             Unliquidated
            Debtor 2 only                                             Disputed
            Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

            At least one of the debtors and another                   Domestic support obligations

            Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
            No                                                        Other. Specify
            Yes                                                                        State Tax Debt

 2.3        Internal Revenue Service                              Last 4 digits of account number       3141              $34,548.00             $21,063.15            $13,484.85
            Priority Creditor's Name
                                                                  When was the debt incurred?
            P.O. Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
            Debtor 1 only                                             Unliquidated
            Debtor 2 only                                             Disputed
            Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

            At least one of the debtors and another                   Domestic support obligations

            Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
            No                                                        Other. Specify
            Yes                                                                        Priority Federal Tax Debt

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim




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 Debtor 1
 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                 Case number (if know)

 4.1      Commonwealth Of Pennsylvania                            Last 4 digits of account number       3141                                           $6,669.66
          Nonpriority Creditor's Name
          P.O. Box 280946                                         When was the debt incurred?
          Department Of Revenue -
          Bankruptcy Dept.
          Harrisburg, PA 17128
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Unsecured State Tax Debt


 4.2      Hamilton Law Group                                      Last 4 digits of account number       2016                                            $263.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 90301
          Allentown, PA 18109
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.3      HSBC Card Services                                      Last 4 digits of account number       1900                                            $241.07
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 60501
          City Of Industry, CA 91716
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                 Case number (if know)

 4.4      Internal Revenue Service                                Last 4 digits of account number       3141                                          $42,887.79
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Unsecured Tax Debt


 4.5      Met-Ed                                                  Last 4 digits of account number       4710                                           $6,800.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 3687
          Akron, OH 44309
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Utility Debt Incurred 2015


 4.6      Pocono Imaging Partner LLP                              Last 4 digits of account number       3532                                            $422.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 60
          East Stroudsburg, PA 18301-9629
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Medical Debt Incurred 2015




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 Debtor 1
 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                 Case number (if know)

 4.7      Tarisa Realty                                           Last 4 digits of account number                                                     $10,906.43
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 159
          Macungie, PA 18062-0159
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Debt Incurred Following a Lease in 2012


          US Dept of Ed/Great Lakes
 4.8      Educational Lo                                          Last 4 digits of account number       8581                                          $20,409.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2401 International Ln
          Madison, WI 53704-3121
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.9      Valor Federal Credit Union                              Last 4 digits of account number       0004                                           $9,107.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          315 Franklin Ave
          Scranton, PA 18503-1201
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Deficiency Judgment Following
                                                                                      Repossession of Debtors' Former 2006
              Yes                                                    Other. Specify   Nissan Quest




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 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                 Case number (if know)

 4.10     Valor Federal Credit Union                              Last 4 digits of account number       0002                                           $6,701.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          315 Franklin Ave
          Scranton, PA 18503-1201
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Deficiency Judgment Following Repossess
              Yes                                                    Other. Specify   on Debtors' Former 2003 Lincoln Towncar

 4.11     Valor Federal Credit Union                              Last 4 digits of account number       0001                                           $4,869.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          315 Franklin Ave
          Scranton, PA 18503-1201
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12     Verizon Wireless                                        Last 4 digits of account number       0001                                           $1,608.84
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 25505
          Lehigh Valley, PA 18002-5505
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Utilitiy Debt Incurred 2015




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 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                    Case number (if know)

 4.13      Zip Local                                               Last 4 digits of account number         0260                                                    $313.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           235 E 1600 S Ste 110
           Provo, UT 84606-7353
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                            Contingent
              Debtor 2 only                                            Unliquidated
              Debtor 1 and Debtor 2 only                               Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                  Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
              No                                                       Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                      Other. Specify


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Mark A. Primrose, Esq.                                      Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 17 N. Sixth Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Stroudsburg, PA 18360
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 McCarthy, Burgess & Wolfe                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 26000 Cannon Road The MB&W                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Building
 Cleveland, OH 44146
                                                             Last 4 digits of account number                    0001
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Monroe County Prothonotary                                  Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 610 Monroe Street                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Monroe County Courthouse
 Stroudsburg, PA 18360
                                                             Last 4 digits of account number                    3141
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Monroe County Prothonotary                                  Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 610 Monroe Street                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Monroe County Courthouse
 Stroudsburg, PA 18360
                                                             Last 4 digits of account number                    3141
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Olde City Fn                                                Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 123 Pennsylvania Ave                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Wayne, PA 19087-3516
                                                             Last 4 digits of account number                    0260
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Pike County Prothonotary                                    Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 412 Broad Street Pike County                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Courthouse
 Milford, PA 18337
                                                             Last 4 digits of account number                    3141
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?


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 Debtor 2 Miller, John William & Miller, Theresa Ahbez                                                   Case number (if know)

 Pinnacle Receivables                                        Line 4.6 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 51058                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Myrtle Beach, SC 29579
                                                             Last 4 digits of account number                    3532
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 12914                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23541
                                                             Last 4 digits of account number                    1900
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept of Ed/Glelsi                                        Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 7860                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Madison, WI 53707-7860
                                                             Last 4 digits of account number                    8581
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Vantage Sourcing                                            Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 6786                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Dothan, AL 36302-6786
                                                             Last 4 digits of account number                    0001

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.       $                    38,632.84
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                    38,632.84

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                    20,409.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    90,788.79

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  111,197.79




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 8
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           Case 5:16-bk-01567-RNO                             Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59                                                  Desc
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 Fill in this information to identify your case:

 Debtor 1                 John William Miller
                          First Name                        Middle Name              Last Name

 Debtor 2                 Theresa Ahbez Miller
 (Spouse if, filing)     First Name                         Middle Name              Last Name


                                                     MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:             DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.2
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.3
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.4
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.5
           Name


           Number      Street

           City                                   State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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              Case 5:16-bk-01567-RNO                           Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59                                       Desc
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 Fill in this information to identify your case:

 Debtor 1                   John William Miller
                            First Name                           Middle Name        Last Name

 Debtor 2                   Theresa Ahbez Miller
 (Spouse if, filing)        First Name                           Middle Name        Last Name


                                                         MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:                 DIVISION

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                 Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                   Schedule D, line
                 Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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              Case 5:16-bk-01567-RNO                               Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59                         Desc
                                                                  Main Document    Page 31 of 55
Fill in this information to identify your case:

Debtor 1                      John William Miller

Debtor 2                      Theresa Ahbez Miller
(Spouse, if filing)


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF PENNSYLVANIA,
                                              WILKES-BARRE DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                      Not employed                                Not employed
       employers.
                                             Occupation                                                          Nurse
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                     General Health Resources

       Occupation may include student or Employer's address
                                                                                                                 385 Hazle Township Blvd
       homemaker, if it applies.
                                                                                                                 Hazle Township, PA 18202-9659

                                             How long employed there?                                                      4 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $          1,172.17

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $   1,172.17




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    Miller, John William & Miller, Theresa Ahbez                                            Case number (if known)



                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00   $         1,172.17

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00   $          172.15
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00   $            0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00   $            0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00   $            0.00
      5e.    Insurance                                                                       5e.        $              0.00   $            0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00   $            0.00
      5g.    Union dues                                                                      5g.        $              0.00   $            0.00
      5h.    Other deductions. Specify: PA SUI                                               5h.+       $              0.00 + $            0.82
             Levy                                                                                       $              0.00   $           34.84
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00   $          207.81
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00   $          964.36
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $        497.65       $               0.00
      8b. Interest and dividends                                                             8b.        $          0.00       $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00   $               0.00
      8e.    Social Security                                                                 8e.        $              0.00   $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $            497.65       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $             497.65 + $           964.36 = $          1,462.01
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in                .
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $           1,462.01
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                         page 2
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                                             United States Bankruptcy Court
                                   Middle District of Pennsylvania, Wilkes-Barre Division

IN RE:                                                                                Case No.
Miller, John William & Miller, Theresa Ahbez                                          Chapter 13
                                         Debtor(s)

                                           BUSINESS INCOME AND EXPENSES
FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
operation.)

PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

  1. Gross Income For 12 Months Prior to Filing:                                      $          55,115.00

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

  2. Gross Monthly Income:                                                                                    $          4,592.92

PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

  3.   Net Employee Payroll (Other Than Debtor)                                       $
  4.   Payroll Taxes                                                                  $
  5.   Unemployment Taxes                                                             $
  6.   Worker’s Compensation                                                          $
  7.   Other Taxes                                                                    $              54.17
  8.   Inventory Purchases (Including raw materials)                                  $
  9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
 10.   Rent (Other than debtor’s principal residence)                                 $             750.00
 11.   Utilities                                                                      $             640.00
 12.   Office Expenses and Supplies                                                   $             193.75
 13.   Repairs and Maintenance                                                        $             455.00
 14.   Vehicle Expenses                                                               $             501.50
 15.   Travel and Entertainment                                                       $
 16.   Equipment Rental and Leases                                                    $
 17.   Legal/Accounting/Other Professional Fees                                       $              35.42
 18.   Insurance                                                                      $             302.09
 19.   Employee Benefits (e.g., pension, medical, etc.)                               $
 20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
       Business Debts (Specify):                                                      $




 21. Other (Specify):                                                                 $            1,163.34
       See Continuation Sheet




 22. Total Monthly Expenses (Add items 3-21)                                                                  $          4,095.27

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

 23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                $           497.65




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IN RE Miller, John William & Miller, Theresa Ahbez                               Case No.
                                         Debtor(s)

                                       BUSINESS INCOME AND EXPENSES
                                              Continuation Sheet - Page 1 of 1

Other:
Postage                                              120.00
Periodicals                                           50.00
Advertising                                           60.00
Charities                                            140.42
Commissions and Fees                                  73.33
Maintenance                                          366.67
Education                                            296.67
Medical Supplies                                      56.25




         Case 5:16-bk-01567-RNO          Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59     Desc
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Fill in this information to identify your case:

Debtor 1                 John William Miller                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                 Theresa Ahbez Miller                                                                   A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF PENNSYLVANIA,                                         MM / DD / YYYY
                                          WILKES-BARRE DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and                     Fill out this information for   Dependent s relationship to        Dependent s      Does dependent
                                            Yes.   each dependent..............    Debtor 1 or Debtor 2               age              live with you?
      Debtor 2.

      Do not state the                                                                                                                     No
      dependents names.                                                            Son                                21                   Yes
                                                                                                                                           No
                                                                                   Son                                16                   Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental        , check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on
(Official Form 106I.)                                                                                                      Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                           2,125.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.   $                            0.00
      4b. Property, homeowner s, or renter s insurance                                                     4b.   $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.   $                          150.00
      4d. Homeowner s association or condominium dues                                                      4d.   $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1

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Debtor 1
Debtor 2     Miller, John William & Miller, Theresa Ahbez                                              Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                               225.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                                45.00
      6d. Other. Specify: Garbage                                                                            6d.   $                                50.00
             Cell Phone                                                                                            $                               300.00
             Cable                                                                                                 $                               120.00
             Internet                                                                                              $                                35.00
7.    Food and housekeeping supplies                                                                          7.   $                               900.00
8.    Childcare and children s education costs                                                                8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                                 0.00
10.   Personal care products and services                                                                    10.   $                               160.00
11.   Medical and dental expenses                                                                            11.   $                               200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                  25.00
14.   Charitable contributions and religious donations                                                       14. $                                  80.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                   15a.   $                                 0.00
      15b. Health insurance                                                                                 15b.   $                                 0.00
      15c. Vehicle insurance                                                                                15c.   $                               400.00
      15d. Other insurance. Specify: Malpractice Insurance                                                  15d.   $                               100.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                               16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.   $                               330.00
      17b. Car payments for Vehicle 2                                                                       17b.   $                                 0.00
      17c. Other. Specify:                                                                                  17c.   $                                 0.00
      17d. Other. Specify:                                                                                  17d.   $                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5,                              (Official Form 106I).                   18. $                                    0.00
19.   Other payments you make to support others who do not live with you.                                        $                                    0.00
      Specify:                                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on                                          .
      20a. Mortgages on other property                                                                      20a.   $                                  0.00
      20b. Real estate taxes                                                                                20b.   $                                  0.00
      20c. Property, homeowner s, or renter s insurance                                                     20c.   $                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $                                  0.00
      20e. Homeowner s association or condominium dues                                                      20e.   $                                  0.00
21.   Other: Specify:    Pet Care (Food & Vet)                                                               21.   +$                                65.00
      Periodicals                                                                                                  +$                                50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                      5,610.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                      5,610.00
23. Calculate your monthly net income.
    23a. Copy line 12(your combined monthly income) from Schedule I.                                        23a. $                               1,462.01
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              5,610.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              -4,147.99

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2

        Case 5:16-bk-01567-RNO                         Doc 1 Filed 04/13/16 Entered 04/13/16 10:52:59                                                Desc
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Fill in this information to identify your case:

Debtor 1                    John William Miller
                            First Name             Middle Name             Last Name

Debtor 2                    Theresa Ahbez Miller
(Spouse if, filing)         First Name             Middle Name             Last Name


                                              MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
United States Bankruptcy Court for the:       DIVISION

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Miller, John William                                          X   /s/ Miller, Theresa Ahbez
             John William Miller                                               Theresa Ahbez Miller
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       April 13, 2016                                         Date    April 13, 2016




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 Fill in this information to identify your case:

 Debtor 1                 John William Miller
                          First Name                      Middle Name                    Last Name

 Debtor 2                 Theresa Ahbez Miller
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


                                                    MIDDLE DISTRICT OF PENNSYLVANIA, WILKES-BARRE
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                              Dates Debtor 2
                                                                  there                                                                         lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income              Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.          (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                             $0.00          Wages, commissions,                 $18,596.00
 (January 1 to December 31, 2015 )                bonuses, tips                                                  bonuses, tips
                                                     Operating a business                                            Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 1
 Debtor 2     Miller, John William & Miller, Theresa Ahbez                                                Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For the calendar year before that:                  Wages, commissions,                         $5,972.00          Wages, commissions,               $18,596.00
 (January 1 to December 31, 2014 )                bonuses, tips                                                  bonuses, tips
                                                     Operating a business                                            Operating a business

 For the calendar year:                              Wages, commissions,                         $5,772.00          Wages, commissions,                       $0.00
 (January 1 to December 31, 2013 )                bonuses, tips                                                  bonuses, tips

                                                     Operating a business                                            Operating a business


 For the calendar year:                              Wages, commissions,                       $17,639.00           Wages, commissions,                $1,085.00
 (January 1 to December 31, 2012 )                bonuses, tips                                                  bonuses, tips
                                                     Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1 s or Debtor 2 s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                 individual primarily for a personal, family, or household purpose.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.      Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe




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 Debtor 1
 Debtor 2     Miller, John William & Miller, Theresa Ahbez                                                Case number (if known)


       Creditor's Name and Address                                Dates of payment         Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Teds Used Cars                                             2/6/2016;                     $165.00                 $0.00         Mortgage
       1723 W Main St                                             3/6/2016; 4/6/2016                                                  Car
       Stroudsburg, PA 18360-1072
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                 Nature of the case      Court or agency                          Status of the case
       Case number
       Dr. John Miller,                                           Civil Judgment          MDJ 60-3-04                                 Pending
          Plaintiff,                                                                      213 Silver Lake Rd                          On appeal
       v.                                                                                 Dingmans Ferry, PA                          Concluded
       Beatriz Sosa,                                                                      18328-9630
          Defendant.
                                                                                                                                   Judgment Entered In Favor
       MJ-60304-CV-21-2015
                                                                                                                                   Of Plaintiff for $2,925.00

       Goshen Mortgage LLC,                                       Mortgage                Pike County Court of                        Pending
          Plaintiff,                                              Foreclosure             Common Pleas                                On appeal
       v.                                                                                 412 Broad St
                                                                                                                                      Concluded
       John Miller, Theresa Miller, & the                                                 Milford, PA 18337-1538
       USA,
          Defendant.
       502-2016-Civil




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10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                      Date                   Value of the
                                                                                                                                                       property
                                                                  Explain what happened
       Commonwealth Of Pennsylvania                               Wage Garnishment                                           2/8/2016                $6,819.75
       Department Of Revenue -
       Bankruptcy Dept.                                             Property was repossessed.
       Harrisburg, PA 17128                                         Property was foreclosed.
                                                                    Property was garnished.
                                                                    Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                      Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

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      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment or            Amount of
       Address                                                        transferred                                             transfer was                payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Patrick J. Best, Esq.                                          Attorney Fee                                            12/17/2015                $1,577.00
       128 E Broad St
       Bethlehem, PA 18018-6277


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment or            Amount of
       Address                                                        transferred                                             transfer was                payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                   Describe any property or       Date transfer was
       Address                                                        property transferred                       payments received or debts     made
                                                                                                                 paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of           Type of account or          Date account was       Last balance before
       Address (Number, Street, City, State and ZIP               account number             instrument                  closed, sold,           closing or transfer
       Code)                                                                                                             moved, or
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                         have it?
                                                                      and ZIP Code)


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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)          to it?                                                                     have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

                          means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
         means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
                            means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case              Status of the
       Case Number                                                 Name                                                                       case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                             Describe the nature of the business          Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                               Dates business existed
        Miller Chiropractic Center                                Health Care Business                         EIN:         ***-**-3141
        PO Box 314
        Bushkill, PA 18324-0314                                                                                From-To



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this                                and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Miller, John William                                                 /s/ Miller, Theresa Ahbez
 John William Miller                                                      Theresa Ahbez Miller
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      April 13, 2016                                                 Date    April 13, 2016

Did you attach additional pages to                                                                                            (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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     Barbara Fein, Esq.
     721 Dresher Rd Ste 1050
     Horsham, PA 19044-2266


     Berkheimer Tax Administrator
     P.O. Box 25153
     Lehigh Valley, PA 18002-0000


     Commonwealth Of Pennsylvania
     P.O. Box 280946
     Department Of Revenue - Bankruptcy Dept.
     Harrisburg, PA 17128-0000


     Fay Servicing
     939 W North Ave
     Chicago, IL 60642-7138


     First Mariner Bank
     1801 S Clinton St
     Baltimore, MD 21224-5806


     Goshen Mortgage LLC
     939 W North Ave Ste 680
     Chicago, IL 60642-1231


     Hamilton Law Group
     P.O. Box 90301
     Allentown, PA 18109-0000




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     HSBC Card Services
     P.O. Box 60501
     City Of Industry, CA        91716-0000


     Internal Revenue Service
     P.O. Box 7346
     Philadelphia, PA 19101-7346


     Mark A. Primrose, Esq.
     17 N. Sixth Street
     Stroudsburg, PA 18360-0000


     McCarthy, Burgess & Wolfe
     26000 Cannon Road The MB&W Building
     Cleveland, OH 44146-0000


     Met-Ed
     P.O. Box 3687
     Akron, OH 44309-0000


     Monroe County Prothonotary
     610 Monroe Street
     Monroe County Courthouse
     Stroudsburg, PA 18360-0000


     Olde City Fn
     123 Pennsylvania Ave
     Wayne, PA 19087-3516




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     Pike County Prothonotary
     412 Broad Street Pike County Courthouse
     Milford, PA 18337-0000


     Pinnacle Receivables
     P.O. Box 51058
     Myrtle Beach, SC 29579-0000


     Pocono Imaging Partner LLP
     P.O. Box 60
     East Stroudsburg, PA 18301-9629


     Portfolio Recovery Associates
     P.O. Box 12914
     Norfolk, VA 23541-0000


     Tarisa Realty
     PO Box 159
     Macungie, PA 18062-0159


     Teds Used Cars LLC
     1723 W Main St
     Stroudsburg, PA 18360-1072


     US Dept of Ed/Glelsi
     PO Box 7860
     Madison, WI 53707-7860




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     US Dept of Ed/Great Lakes Educational Lo
     2401 International Ln
     Madison, WI 53704-3121


     Valor Federal Credit Union
     315 Franklin Ave
     Scranton, PA 18503-1201


     Vantage Sourcing
     PO Box 6786
     Dothan, AL 36302-6786


     Verizon Wireless
     PO Box 25505
     Lehigh Valley, PA       18002-5505


     Zip Local
     235 E 1600 S Ste 110
     Provo, UT 84606-7353




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                                           United States Bankruptcy Court
                                 Middle District of Pennsylvania, Wilkes-Barre Division

IN RE:                                                                                  Case No.
Miller, John William & Miller, Theresa Ahbez                                            Chapter 13
                                       Debtor(s)

                                       VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



Date: April 13, 2016                   Signature: /s/ Miller, John William
                                                   Miller, John William                                                     Debtor



Date: April 13, 2016                   Signature: /s/ Miller, Theresa Ahbez
                                                   Miller, Theresa Ahbez                                        Joint Debtor, if any




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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                Middle District of Pennsylvania, Wilkes-Barre Division
 In re       Miller, John William & Miller, Theresa Ahbez                                                    Case No.
                                                                             Debtor(s)                       Chapter      13

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                  4,000.00
             Prior to the filing of this statement I have received                                       $                  1,577.00
             Balance Due                                                                                 $                  2,423.00

2.     The source of the compensation paid to me was:
                  Debtor                Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 13, 2016                                                          /s/ Patrick J. Best, Esq
     Date                                                                    Patrick J. Best, Esq
                                                                             Signature of Attorney
                                                                             Anders, Riegel & Masington LLC

                                                                             128 E Broad St
                                                                             Bethlehem, PA 18018-6277
                                                                             (610) 849-2788 Fax: (484) 544-8625
                                                                             patrick@armlawyers.com
                                                                             Name of law firm




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as incurred by an individual                                                     $335      total fee
        primarily for a personal, family, or
        household purpose.                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A 1) if you                                     as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A 2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form the Chapter 7 Means Test                                            +          $550    administrative fee
 Calculation (Official Form 122A 2). The calculations
                                                                                                      $1,717    total fee
 on the form sometimes called the Means
 Test deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days          you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury either orally or in writing in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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